Case 1:15-bk-13827-MT   Doc 61 Filed 11/17/17 Entered 11/17/17 13:52:03   Desc
                         Main Document     Page 1 of 4
Case 1:15-bk-13827-MT   Doc 61 Filed 11/17/17 Entered 11/17/17 13:52:03   Desc
                         Main Document     Page 2 of 4
Case 1:15-bk-13827-MT   Doc 61 Filed 11/17/17 Entered 11/17/17 13:52:03   Desc
                         Main Document     Page 3 of 4
Case 1:15-bk-13827-MT   Doc 61 Filed 11/17/17 Entered 11/17/17 13:52:03   Desc
                         Main Document     Page 4 of 4
